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   10
         Plaintiffs’ Co-Lead Counsel
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   12
                             UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668−PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                  PLAINTIFFS’ REPLY
   17   THIS DOCUMENT RELATES TO                  MEMORANDUM IN FURTHER
        ALL ACTIONS                               SUPPORT OF MOTION IN LIMINE
   18                                             NO. 4 PRECLUDING EVIDENCE
                                                  AND ARGUMENTS REGARDING
   19                                             BACKGROUND OF THIS
                                                  LITIGATION
   20
                                                  JUDGE: Hon. Philip S. Gutierrez
   21                                             DATE: May 17, 2024
                                                  TIME: 2:30 p.m.
   22                                             COURTROOM:
                                                   First Street Courthouse
   23                                              350 West 1st Street
                                                   Courtroom 6A
   24                                              Los Angeles, CA 90012
   25

   26

   27

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    1          In a circumscribed Opposition (“Opp.”) to Plaintiffs’ fourth motion in limine,
    2   the NFL Defendants respond that Plaintiffs’ motion is unopposed to the extent of
    3   certain “specific assertions”—i.e., the NFL Defendants do not “intend” to “assert that
    4   the litigation is ‘attorney-driven’” and “that the mere passage of time dictates
    5   whether a given practice is anticompetitive.” Opp. at 1 (emphasis added).
    6          Other than those tailored concessions, the NFL Defendants argue that “[a]ny
    7   request for [] broader relief” should be denied, which would include arguments
    8   concerning Plaintiffs’ “motivation for bringing this lawsuit.” Id. And there lies the
    9   problem, for the Opposition makes clear that the NFL Defendants will try to
   10   introduce irrelevant and prejudicial “evidence” to confuse the jury’s consideration of
   11   Plaintiffs’ claims and injuries and the reasonableness of the NFL Defendants’
   12   conduct, in the guise of legally irrelevant arguments or insinuations about Plaintiffs’
   13   “motivation” for the lawsuit. See id. The Court should not allow such mischief, and
   14   thus should grant the exclusions Plaintiffs seek. 1
   15        I.   Class Representatives’ Purchases of Sunday Ticket Are Not Evidence
   16             of Lack of Injury, Product Quality, or Reasonableness of the
   17             Restraints.
   18          The NFL Defendants assert that “limitations on arguments should not bar
   19   underlying evidence where it is admissible for another purpose.” Opp. at 1 (emphasis
   20   in original). That principle is uncontroversial, but it has no application here, where
   21   the NFL Defendants plainly seek to offer evidence for improper purposes for which
   22   it would be inadmissible under Fed. R. Evid. 402 and 403.
   23          First, the NFL Defendants argue that whether Plaintiffs “continued
   24   subscribing to Sunday Ticket” after this litigation began is “relevant to the question
   25

   26   1
         The NFL Defendants also imply that Plaintiffs seek to use this motion in limine to
   27   restrict statute of limitations or laches defenses. Plaintiffs’ motion does no such thing.
        However, Plaintiffs respond briefly below to the NFL Defendants’ extraneous
   28
        argument concerning such affirmative defenses.
                                                    1
              PLAINTIFFS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION IN LIMINE NO. 4
            PRECLUDING EVIDENCE AND ARGUMENTS REGARDING BACKGROUND OF THIS LITIGATION
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    1   of whether they were injured by Defendants’ conduct.” Opp. at 1-2. Plaintiffs, like
    2   the members of the certified classes of residential and commercial purchasers they
    3   represent, were injured by an overcharge they paid for a product that, by virtue of the
    4   conspirators’ agreement, was available through one exclusive channel (DirecTV) in
    5   one format (the bundled package of all out-of-market Sunday NFL games) at
    6   supracompetitive prices. Plaintiffs’ injury arises from their Sunday Ticket purchases
    7   for which there were no alternative or substitute products, all competition for access
    8   to out-of-market NFL game telecasts having been eliminated by agreement.2
    9          On the basis of the NFL Defendants’ deposition questioning, it is fair to
   10   surmise that they will seek to explore “evidence that [Plaintiffs] continued
   11   subscribing to Sunday Ticket even after becoming involved in this litigation and
   12   filing their complaints,” Opp. at 2, in an attempt to raise back-door inferences with
   13   the jury that, for example, the Commercial Class Plaintiffs somehow “profited” from
   14   having subscribed to a supracompetitively priced Sunday Ticket, in the nature of
   15   increased customer traffic and sales, and the Residential Class Plaintiffs were happy
   16   with the product despite a high price. See, e.g., Maida Decl. Ex. 1 (Mucky Duck
   17   Dep.) 33:6-35:22, 61:4-63:5; Maida Decl. Ex. 2 (Gael Pub Dep.) 77:14-81:21, 83:11-
   18   18; Maida Decl. Ex. 3 (Jonathan Frantz Dep.) 85:1-14. Antitrust law does not allow
   19   for discounting the harm caused by anticompetitive conduct or blaming the victim in
   20   this fashion. Any such purported “benefits” have no relevance to injury: whether
   21   class members were injured does not depend on evidence of consumer “satisfaction”
   22   or “netting” of any purported savings or benefits in an antitrust overcharge case. See
   23

   24   2
         In the case relied upon by the NFL Defendants for this point, Staley v. Gilead Scis.,
   25   Inc., No. 19-cv-02573, 2021 WL 4318404 (N.D. Cal. July 19, 2021), discovery was
        allowed into instances in which plaintiffs considered generic alternatives for
   26
        allegedly price-fixed branded drugs. The issue in that case was whether the plaintiffs
   27   would choose to purchase the brand name prescription drug in favor of a lower-priced
        equivalent generic drug if given the choice. This issue of choice has nothing to do
   28
        with the claims at issue in this case.
                                                   2
              PLAINTIFFS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION IN LIMINE NO. 4
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    1   In re Nexium Antitrust Litig., 777 F.3d 9, 27 (1st Cir. 2015) (“In re Nexium”);
    2   Tawfilis v. Allergan, Inc., No. 8:15-cv-00307, 2017 WL 3084275, at *12 (C.D. Cal.
    3   June 26, 2017) (potential offsets do not affect fact of damage); see also ECF No.
    4   1102-1, Plaintiffs’ Memorandum in Support of Their Motion In Limine No. 2 to
    5   Exclude Improper Evidence and Argument Regarding the Relief Sought by Plaintiffs,
    6   at 5-7.
    7             Second, the NFL Defendants assert that a Plaintiff’s decision not to cancel, or
    8   to renew, a Sunday Ticket subscription “is relevant because it demonstrates Sunday
    9   Ticket’s high consumer appeal.” Opp. at 3. The NFL Defendants’ argument is
   10   baseless. In fact, consumer demand for a Sunday Ticket product was exploited by the
   11   NFL Defendants in order to overcharge Plaintiffs and the members of the classes.
   12   Again, Plaintiffs had no alternative to the overpriced Sunday Ticket product. See
   13   ECF No. 1155, Order DENYING Defendants’ motion for summary judgment at 10
   14   (emphasizing that Sunday Ticket on DirecTV was the only option for consumers who
   15   wished to view out-of-market NFL game telecasts). In the absence of any substitute
   16   product, the comparative term “high” consumer appeal simply has no reference point
   17   as an argument. Additionally, while Plaintiffs’ claims are representative of those of
   18   the certified classes, the NFL Defendants have proffered no basis on which to think
   19   that any of the four named Plaintiffs’ personal, subjective views about the appeal of
   20   the product—even if they could be divined from the Hobson’s choice of the sole
   21   purchase option here—reflect the views of other class members. Such an argument
   22   across the class should be based instead upon reliable expert analysis, quantitative
   23   methods, economics, testimony from qualified witnesses, and/or relevant business
   24   records. John M. Newman, Procompetitive Justifications in Antitrust Law, 94 Ind.
   25   L.J. 501, 502-30 (2019); see also ECF No. 1242, Reply Memorandum in Support of
   26   Plaintiffs’ Motion In Limine No. 2 to Exclude Improper Evidence and Argument
   27   Regarding the Relief Sought by Plaintiffs, at 7-8.
   28
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             PLAINTIFFS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION IN LIMINE NO. 4
           PRECLUDING EVIDENCE AND ARGUMENTS REGARDING BACKGROUND OF THIS LITIGATION
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    1         Moreover, the NFL Defendants’ argument that renewed subscriptions are
    2   “[e]vidence that the class representatives and other class members were satisfied with
    3   the product” which they content in turn “tends to show that the product was of a high
    4   quality” and that such “product quality is indisputably relevant in a rule of reason
    5   case”, Opp. at 3, misses the mark. The NFL Defendants here rely upon Epic Games
    6   v. Apple, Inc., 67 F.4th 946 (9th Cir. 2023) (“Epic Games”), cert. denied, ___ S. Ct.
    7   ___, 2024 WL 156473 (S. Ct. Jan. 16, 2024). Epic Games properly articulates,
    8   however, that the rule of reason inquiry is not an abstract one as to the quality of the
    9   product, but rather examines whether the challenged restraints enhanced
   10   competition, which may thereby operate to enhance product quality. Epic Games, 67
   11   F.4th at 987; see also NCAA v. Bd. of Regents of the University of Oklahoma, 468
   12   U.S. 85, 104 (1984). Plaintiffs’ subjective views or purchases of the product have
   13   zero tendency to prove that the restraints improved the quality of the product.
   14         Third, the NFL Defendants argue that evidence of Plaintiffs’ purchasing
   15   conduct “is relevant to whether Defendants’ contracting strategy was reasonable.”
   16   Opp. at 3. Here, the NFL Defendants expose their intention to argue that commercial
   17   customers “profit[ed] from their subscriptions to Sunday Ticket,” id., which is
   18   indisputably irrelevant to the fact of injury or damages, see, e.g. In re Nexium, 777
   19   F.3d at 27, and would confuse and mislead the jury on injury and damages issues.
   20   See Fed. R. Evid. 402 & 403. Such prejudice cannot be overcome by the NFL
   21   Defendants’ assertion that it somehow demonstrates “procompetitive benefits”
   22   including “increased or sustained product quality, increased product innovation, and
   23   maximization of fan reach and access.” Opp. at 3.
   24         The NFL Defendants’ reliance on Oshana v. Coca-Cola Bottling Co., 225
   25   F.R.D. 575 (N.D. Ill. 2005), an Illinois Consumer Fraud Act case, for the proposition
   26   that a class representative’s continued purchase of the challenged product weakens
   27   its case, Opp. at 3, only underscores the fallacy of their argument. In Oshana, plaintiff
   28   continued to purchase fountain-dispensed Diet Coke after she knew it contained
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             PLAINTIFFS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION IN LIMINE NO. 4
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    1   saccharin (the fact about which she alleged she was deceived) instead of canned or
    2   bottled Diet Coke. Unsurprisingly, that fact, along with four other factors,
    3   “weakened” her case. Here, Plaintiffs allege they were overcharged, not that the
    4   product was misrepresented or they were defrauded, and there was no alternative
    5   product for them to purchase. Plaintiffs’ continued purchases thus in no way weaken
    6   their case here: this is not a situation in which, for instance, Plaintiffs claim that they
    7   were defrauded into purchasing Sunday Ticket and they bought it anyway despite
    8   knowing it did not include the represented games.
    9       II.   The NFL Defendants’ Arguments Concerning the Statute of
   10             Limitations and Laches Are Misplaced and Erroneous.
   11         The NFL Defendants state that they oppose Plaintiffs’ motion to the extent that
   12   it seeks a summary adjudication on statute of limitations or laches defenses through
   13   the vehicle of a motion in limine. Opp. at 6-7. That is a straw man, as Plaintiffs neither
   14   made nor implied any such request. In response to the NFL Defendants’ gratuitous
   15   argument (Opp. at 7 n.2), however, Plaintiffs briefly note that they seek damages for
   16   the full extent of the Class Period; that the continuing violations doctrine restarts the
   17   statute of limitations and applies to every new agreement between the NFL
   18   Defendants and the broadcast networks or DirecTV, as well as to every purchase of
   19   and payment for Sunday Ticket by class members within the Class Period, each of
   20   which constituted new and accumulating injury; and that the NFL Defendants’
   21   arguments to the contrary are incorrect. See, e.g., Samsung Elecs. Co. v. Panasonic
   22   Corp., 747 F.3d 1199, 1202 (9th Cir. 2014) (explaining the continuing violations
   23   doctrine).
   24                                            * * *
   25         For the foregoing reasons, Plaintiffs respectfully request that the Court grant
   26   their motion in limine and preclude the NFL Defendants from offering evidence and
   27   argument regarding how Plaintiffs became involved in this litigation and their
   28   motivation for bringing this lawsuit, Plaintiffs’ relationship with their attorneys, and
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             PLAINTIFFS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION IN LIMINE NO. 4
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    1   any reference to the litigation as being “attorney-driven” or motivated by attorneys,
    2   including evidence and argument under the guise of “motivation” concerning
    3   Plaintiffs’ views as to the quality of the product and their continued purchases; and
    4   that the Court also preclude evidence and argument that the passage of time during
    5   which the challenged conduct has been occurring dictates, implies, or permits an
    6   inference, without more, that the alleged restraints are legal.
    7

    8   Dated: February 9, 2024                 Respectfully submitted,
    9

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           PRECLUDING EVIDENCE AND ARGUMENTS REGARDING BACKGROUND OF THIS LITIGATION
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             PLAINTIFFS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION IN LIMINE NO. 4
           PRECLUDING EVIDENCE AND ARGUMENTS REGARDING BACKGROUND OF THIS LITIGATION
